Case 2:06-cr-00021-JRG-RSP         Document 61       Filed 04/09/07     Page 1 of 2 PageID #:
                                          214

                         United States District Court
                                EASTERN DISTRICT OF TEXAS
                                   M ARSHALL DIVISION


UNITED STATES OF AMERICA                      §
                                              §
V.                                            §           CASE NO. 2:06CR21
                                              §
ERIC WAYNE DORGAN                             §


     AMENDED FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
             BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. § 636(b) this matter has been referred by the District Court for

administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

Procedure.

       On this day, this cause came before the undersigned United States Magistrate Judge

for guilty plea and allocution of the Defendant on an Information charging in Count 1

violation of Title 21, USC, Section 846, Conspiracy to Possess with Intent to Distribute and

Distribution of More Than Five (5) Grams of Actual Methamphetamine. After conducting

said proceeding in the form and manner prescribed by Fed. R. Crim. P. 11 the Court finds:

       a.     That the Defendant after consultation with counsel of record, has knowingly

and voluntarily consented to the administration of the Guilty Plea and Allocution in this cause

by a United States Magistrate Judge subject to a final approval and imposition of sentence by

the District Court.

       b.     That the Defendant and the Government have entered into a plea agreement

which has been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(e)(2).

       c.     That the Defendant is fully competent and capable of entering an informed plea,

that the Defendant is aware of the nature of the charges and the consequences of the plea, and

that the plea of guilty is a knowing and voluntary plea supported by an independent basis in
Case 2:06-cr-00021-JRG-RSP             Document 61       Filed 04/09/07    Page 2 of 2 PageID #:
                                              215

    fact containing each of the essential elements of the offense.
.
           d.     The Defendant understands his constitutional and statutory rights and wishes

    to waive these rights; including the right to a trial by jury and the right to appear before a

    United States District Judge.

           e.     All parties have waived objections to the Amended Findings of Fact.

           IT IS THEREFORE RECOMMENDED that the District Court accept the Plea

    Agreement and the Guilty Plea of the Defendant, and that ERIC WAYNE DORGAN should

    be finally adjudged guilty of that offense.

          SIGNED this 5th day of April, 2007.




                                                       ____________________________________
                                                       CAROLINE M. CRAVEN
                                                       UNITED STATES MAGISTRATE JUDGE




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